

Erie Ins. Co. v Children's Palace Childcare Ctr., Inc. (2024 NY Slip Op 05726)





Erie Ins. Co. v Children's Palace Childcare Ctr., Inc.


2024 NY Slip Op 05726


Decided on November 15, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 15, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., BANNISTER, MONTOUR, GREENWOOD, AND KEANE, JJ.


767 CA 23-00498

[*1]ERIE INSURANCE COMPANY, AS SUBROGEE OF MAC'S PIZZERIA &amp; GRILL, CORP., ET AL., PLAINTIFF-APPELLANT,
vCHILDREN'S PALACE CHILDCARE CENTER, INC., DEFENDANT-RESPONDENT, DELL, INC., AND DELL, INC., DOING BUSINESS AS DELL COMPUTERS, INC., DEFENDANTS. (APPEAL NO. 2.) 






RUPP PFALZGRAF LLC, BUFFALO (BRANDON SNYDER OF COUNSEL), FOR PLAINTIFF-APPELLANT.
LIPSITZ GREEN SCIME CAMBRIA LLP, BUFFALO (PATRICK J. MACKEY OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from an order of the Supreme Court, Monroe County (Christopher S. Ciaccio, A.J.), entered March 2, 2023. The order granted the motion of defendant Children's Palace Childcare Center, Inc. for summary judgment. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs for reasons stated in the decision at Supreme Court.
Entered: November 15, 2024
Ann Dillon Flynn
Clerk of the Court








